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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NAACP, et al.,

       Plaintiffs,                          CIVIL ACTION

v.                                          FILE NO. 1:21-CV-05338-SCJ

STATE OF GEORGIA, et al.,

       Defendants.


                RESPONSE TO PLAINTIFFS’ MOTION FOR
                    LEAVE TO AMEND COMPLAINT

        Defendants do not oppose Plaintiffs’ Motion for Leave to Amend their

 Complaint. Doc. No. [56]. At such time as the Amended Complaint becomes

 the operative Complaint in this matter, Defendants will file a renewed

 motion to dismiss on the same grounds as those outlined in their prior

 Motion to Dismiss. Doc. No. [47].

        Respectfully submitted this 13th day of April, 2022.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned certifies that the foregoing

Response Brief has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                    /s/ Bryan P. Tyson
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